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          UNITED STATES COURT OF INTERNATIONAL TRADE


NORCA INDUSTRIAL
COMPANY, LLC,

       Plaintiff,

and

INTERNATIONAL PIPING &                    Before: Jennifer Choe-Groves, Judge
PROCUREMENT GROUP, LP,
                                          Consol. Court No. 21-00192
       Consolidated Plaintiff,

v.

UNITED STATES,

       Defendant.


                                    ORDER

      Before the Court is Defendant’s Motion to Stay Proceedings (“Defendant’s

Motion”), ECF No. 27, in which Defendant asks the Court to stay this matter in

light of the determination by U.S. Customs and Border Protection (“Customs”) to

seek a covered merchandise referral from the U.S. Department of Commerce

(“Commerce”) under 19 U.S.C. § 1517(b)(4)(A) because Customs is unable to

determine whether the subject merchandise falls within the relevant antidumping

duty order. Def.’s Mot. at 1; see also Def.’s Mot. Leave File Reply Supp. Its Mot.

Stay Proceedings, ECF No. 29; Def.’s [Proposed] Reply Supp. Mot. Stay, ECF
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No. 29-1. Plaintiff and Consolidated Plaintiff (collectively, “Plaintiffs”) oppose

Defendant’s Motion, arguing that (1) Defendant did not identify what led to

Customs’ determination at this late stage that Customs is unable to determine

whether the subject merchandise falls within the relevant antidumping duty order,

and (2) a covered merchandise referral is permissible only during the original

investigation and not at this stage. Opp’n Def.’s Mot. Stay Proceedings (“Pls.’

Opp’n”) at 3–4, ECF No. 28. For the reasons discussed below, the Court grants

Defendant’s Motion.

      The Enforce and Protect Act (“EAPA”), 19 U.S.C. § 1517 (2018), provides

in relevant part:

      (A) If [Customs] receives an allegation [that a person has entered
      covered merchandise into the customs territory of the United States
      through evasion] and is unable to determine whether the merchandise
      at issue is covered merchandise, [Customs] shall—

             (i) refer the matter to [Commerce] to determine whether the
             merchandise is covered merchandise . . . .

19 U.S.C. § 1517(b)(4)(A).

      Contrary to Plaintiffs’ argument that the covered merchandise referral is

only permissible during the original investigation, “the statute contains no explicit

deadline by when [Customs] must refer a matter to Commerce for a scope

determination.” Vietnam Finewood Co. v. United States, 44 CIT __, __, 466 F.

Supp. 3d 1273, 1283 (2020). Customs’ regulation provides that “[a] referral is
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required if at any point after receipt of an allegation, [Customs] cannot determine

whether the merchandise described in an allegation is properly within the scope of

an antidumping or countervailing duty order.” 19 C.F.R. § 165.16 (emphasis

added).

       In addition, a determination by Commerce that the subject merchandise is

not within the scope of the relevant antidumping duty order would resolve this

matter without further litigation, which would be in Plaintiffs’ interest.

       Upon consideration of Defendant’s Motion, ECF No. 27, and all other

papers and proceedings in this action, it is hereby

       ORDERED that Defendant’s Motion for Leave to File Reply in Support of

Its Motion to Stay Proceedings, ECF No. 29, is granted, and Defendant’s Reply in

Support of Its Motion to Stay is deemed filed as of July 20, 2022; and it is further

       ORDERED that Defendant’s Motion, ECF No. 27, is granted; and it is

further

       ORDERED that the remaining deadlines are stayed pending further order of

this Court; and it is further
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      ORDERED that Defendant shall file a status report every thirty (30) days

after the issuance of this Order and within seven (7) days of Commerce’s final

determination on the covered merchandise referral.



                                                       /s/ Jennifer Choe-Groves
                                                     Jennifer Choe-Groves, Judge

Dated:     August 15, 2022
         New York, New York
